    Case 1:22-cv-01237-RGA Document 246 Filed 09/12/23 Page 1 of 2 PageID #: 18620



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

IN RE: BOY SCOUTS OF AMERICA and                                  Chapter 11
DELAWARE BSA, LLC,                                                Case No. 20-10343-LSS
                                                                  (Jointly Administered)
                       Debtors.


NATIONAL UNION FIRE INSURANCE,                                    Civ. No. 22-1237-RGA
COMP ANY OF PITTSBURGH, PA, et al,
                                                                  Jointly Consolidated 1
                       Appellants,
                V.

BOY SCOUTS OF AMERICA and
DELAWARE BSA, LLC, et al. ,

                       Appellees.

                 ORDER GRANTING MOTION FOR LEAVE OF NON-PARTIES
                      SETTLEMENT TRUST AND TRUSTEE TO FILE
              SEPARATE CONSOLIDATED OBJECTION TO THE STAY MOTIONS

        Having considered the Settlement Trust 's and Trustee 's Motion for Leave to File Separate

Consolidated Objection to the Renewed Emergency Motion of Lujan Claimants for Stay Pending

Appeal and Motion to Stay Appeal, Emergency Renewed Motion of Dumas & Vaughn Claimants for

Stay of Bankruptcy Plan and Motion to Stay Appeal, and Motion of Certain Insurers for a Stay of

Further Implementation of the Plan Pending Supreme Court Decision in Purdue (the "Motion for

Leave"); IT IS HEREBY ORDERED that:

         1.     The Motion for Leave (D.I. 238) is GRANTED.

        2.      The Objection attached as Exhibit B to the Motion for Leave is deemed properly

filed and part of the record on the Stay Motions filed at D.I. 222, 223 , and 235.




1
  Case Numbers 22-1237, 22-1238, 22-1239, 22-1240, 22-1241 , 22-1242, 22-1243 , 22-1244, 22-
 1245, 22-1246, 22-1247, 22-1249, 22-1250, 22-1251 , 22-1252, 22-1258, and 22-1263 have been
jointly consolidated under Civ. No. 22-1237.
 Case 1:22-cv-01237-RGA Document 246 Filed 09/12/23 Page 2 of 2 PageID #: 18621



Entered this 12th day of September, 2023.




                                            2
